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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

                                                   CASE NO. 8:22-cv-00581-WFJ-AEP
  FRAZETTA PROPERTIES, LLC,
                       Plaintiff,

   v.

  VANGUARD PRODUCTIONS, LLC,
  and JESSE DAVID SPURLOCK,
                    Defendants.
  ____________________________________/

                        DEFENDANTS’ MOTION TO COMPEL
                     PLAINTIFF’S PRODUCTION OF DOCUMENTS

         Defendants VANGUARD PRODUCTIONS, LLC and J. DAVID SPURLOCK,

  pursuant to Fed. R. Civ. P. 34 (b) and 37(a), request an order compelling Plaintiff

  FRAZETTA PROPERTIES, LLC to produce the requested documents, as follows:

                                    STATEMENT OF FACTS

         1.     Defendants served their second Fed. R. Civ. P. 34(b) request for

  production of documents to Plaintiff under certificate of service dated December 9,

  2024. (See, Ex. 1, RFP); (Ex. 2, email serving Defendants’ 2d RFP to Plaintiff).

         2.     Plaintiff served their responses January 13, 2025, objecting to and

  declining to provide any of the requested documents. (Ex. 3).

         3.     On January 23, Defendants emailed Plaintiff’s attorney advising of the

  Order [DIN 166} requiring production of Plaintiff’s E-File application to the United

  States Copyright Office, thus, Defendants’ request for production was ordered. (Ex. 4)
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          4.      The January 23, 2025 correspondence to counsel for Frazetta Properties,

  LLC was a good faith effort to avoid the court’s intervention compelling the following

  numbered items:

                  No. 4 - All documents you are likely to use in support of your claims.
                           Properties objected on the basis of attorney-client privilege
                           but provided none of the information required by Rule 34 of
                           the Federal Rules of Civil Procedure or as instructed in the
                           “Objections” section of Defendants’ Second Request.
                           Properties’ failure to adequately object to or produce
                           documents critical to Defendants’ defense of claims will
                           oblige Defendants to move to strike or preclude admission
                           of undisclosed items attached in support of or in opposition
                           to dispositive motions and/or sought to be admitted into
                           evidence at trial.
                  No. 5 All documents you are going to use or are likely to use to prove
                  damages or harm concerning the alleged copyright infringement.
                           Properties objected on the basis of attorney-client privilege
                           but provided none of the information required by Rule 34 of
                           the Federal Rules of Civil Procedure or as instructed in the
                           “Objections” section of Defendants’ Second Request.
                           Properties’ failure to adequately object to or produce
                           documents critical to Defendants’ defense of claims will
                           oblige Defendants to move to strike or preclude admission
                           of undisclosed items attached in support of or in opposition
                           to dispositive motions and/or sought to be admitted into
                           evidence at trial.
                  No. 6 All agreements or licenses with any of the parties to this proceeding
                  concerning Death Dealer II and Death Dealer V.
                         Defendants request that Properties clarify their response by
                         stating whether the members’ “CORE Agreement” is the only
                         document responsive to this request.
                  No. 7 Certified copies of Frazetta Properties’ applications to copyright
                  register Death Dealer II and Death Dealer V with the United States
                  Copyright Office.

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                           Properties’ failure to produce this document, critical to
                           Defendants’ defense of claims, will oblige Defendants to
                           move to strike or preclude admission of undisclosed items
                           attached in support of or in opposition to dispositive
                           motions and/or sought to be admitted into evidence at trial.
                  No. 9 All correspondence, including emails and texts, to the parties and
                  non-parties to this case, pertaining to the dispute between Vanguard and
                  Spurlock and Frazetta Properties and Hermes Press and Frank Frazetta,
                  Jr. concerning Frank Frazetta, Jr.’s 2013 book “FRANK FRAZETTA:
                  ART AND REMEMBRANCES.
                           The “Definitions” section of Defendants’ second production request
                           provides that:
                                “FRAZETTA PROPERTIES,” “PLAINTIFF,” “YOU,”
                                and “YOUR,” as used herein, refer to Plaintiff Frazetta
                                Properties, LLC and all predecessors in interest,
                                successors in interest, agents, assigns, employees,
                                attorneys, accountants, consultants, and/or all other
                                persons acting or purporting to act on Plaintiff’s behalf.
                           Properties must produce items responsive to this request
                           that are in the possession of Properties’ members and the
                           people and entities described in the above Definition unless
                           objected to on the basis of privilege by providing
                           information described in the “Objections” section of
                           Defendants’ Second Request For Production of Documents.
          5.      Defendants seek an order compelling the above items listed in in their

  Second Request for Production pursuant to Fed. R. Civ. Pro. 37(a), providing such

  remedy for noncompliance with Fed. R. Civ. P. 34(b) discovery requests.

                                          LEGAL ARGUMENT

          Proof of Copyright Registration is Required to Claim Copyright
          Infringement.

          6.      Plaintiff produced no proof of copyright registration to support the

  allegation that Plaintiff holds copyright ownership to the two images in question.

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          7.      Proof of registration is a prerequisite to a suit to enforce a copyright. A

  plaintiff in a copyright infringement case bears the burden of proving "(1) ownership of

  a valid copyright, and (2) [unauthorized] copying of constituent elements of the work

  that are original." Lotus Dev. Corp. v. Borland Int'l, Inc., 49 F.3d 807, 813 (1st Cir. 1995).

          8.      An application to register must be filed, and either granted or refused,

  before suit can be brought. See, 17 U.S.C. § 411(a) (Providing registration of copyright as

  necessary for civil litigation infringement claims), which provides, in pertinent part:

                           … [N]o civil action for infringement of the copyright in any
                           United States work shall be instituted until preregistration or
                           registration of the copyright claim has been made in
                           accordance with this title. In any case, however, where the
                           deposit, application, and fee required for registration have
                           been delivered to the Copyright Office in proper form and
                           registration has been refused, the applicant is entitled to
                           institute a civil action for infringement if notice thereof, with
                           a copy of the complaint, is served on the Register of
                           Copyrights. …

  17. U.S.C. Section 411(a).

          9.      Defendants’ Fed. R. Civ. Pro. 34(b) request for production to Plaintiffs for

  the relevant copyright registration certificates was made for legitimate purposes.

          10.     Plaintiffs’ complaint does not satisfy their initial burden of proof to bring

  suit and Plaintiffs cannot further litigate their claim of copyright infringement unless

  such E-File application is filed with the court, as the Complaint’s allegations are

  unsupported.


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          11.     This is the second time Defendants have requested Plaintiff provide prima

  facie proof of copyright ownership of the two images in question.

          12.     The other requested items are crucial to Defendants’ defenses to Plaintiff’s

  allegations, and are therefore relevant and necessary items to be produced and are not

  requested as non-substantive or not required to prove copyright ownership.

                                              CONCLUSION

          For the reasons set forth above, Defendants respectfully request the court issue

  an order compelling Plaintiff produce the requested items and for an award of

  Defendants’ costs and attorney’s fees as provided under Fed. R. Civ. Pro. Rule 37.

        DATED: JANUARY 28, 2025

                                                           /s/:     ______________________________
                                                                    Leigh M. Williams, Esq.
                                                                    Fla. Bar No. 624543
                                                                    1701 W. Kansas Ave.
                                                                    Midland, TX 79701
                                                                    E-mail: mcmillan.esq@gmail.com
                                                                    Tel. No.: 210 209-3030
                                                                    Attorney for Vanguard Productions,
                                                                    LLC, and J. David Spurlock

                         CERTIFICATE OF GOOD FAITH CONFERRAL

          I HEREBY CERTIFY that an attempt to obtain the above requested items was

  made with counsel for Plaintiffs prior to filing this motion, with no success.



                                                    /s/:
                                                              Leigh M. Williams, Esq.


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